7:24-cv-03179-TMC   Date Filed 11/13/24   Entry Number 39-7   Page 1 of 3




         EXHIBIT G




                                                                EXHIBIT G
                                                                 PAGE 194
     7:24-cv-03179-TMC          Date Filed 11/13/24       Entry Number 39-7         Page 2 of 3



      7:23-cv-01427-TMC        Date Filed 11/02/23      Entry Number 73       Page 1 of 2




                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             SPARTANBURG DIVISION

Blockquarry Corp. f/k/a ISW Holdings, Inc., )       Civil Action No. 7:23-cv-01427-TMC
                                            )
                  Plaintiff,                )
                                            )
v.                                          )
                                            )        JOINT STIPULATION OF DISMISSAL
Litchain Corp. and Gaffney Board of Public )         WITH PREJUDICE OF ALL CLAIMS
Works,                                      )        AND CROSSCLAIMS BETWEEN
                                            )        PLAINTIFF, BLOCKQUARRY CORP.
                  Defendants.               )        f/k/a ISW HOLDINGS, INC., AND
                                            )        DEFENDANT/COUNTERCLAIMANT,
                                            )        GAFFNEY BOARD OF PUBLIC
Gaffney Board of Public Works,              )        WORKS
                                            )
                  Defendant/Counter and     )
                  Crossclaimant,            )
v.                                          )
                                            )
Blockquarry Corp. f/k/a ISW Holdings, Inc., )
                                            )
                  Counterclaim Defendant, )
and                                         )
                                            )
Litchain Corp.,                             )
                                            )
                  Crossclaim Defendant.     )
                                            )

       IT IS HEREBY STIPULATED by Plaintiff/Counterclaim Defendant, Blockquarry Corp.

f/k/a ISW Holdings, Inc. (“Blockquarry”), and Defendant/Counterclaimant, Gaffney Board of

Public Works (“Gaffney BPW”), by and through undersigned counsel of record, that pursuant to

Rule 41(a) of the Federal Rules of Civil Procedure, all claims asserted by Blockquarry against

Gaffney BPW and all counterclaims asserted by Gaffney BPW against Blockquarry are hereby

dismissed and ended with prejudice, with each party bearing its own costs and attorneys’ fees.


                                                                                       EXHIBIT G
                                                                                        PAGE 195
  7:24-cv-03179-TMC             Date Filed 11/13/24          Entry Number 39-7           Page 3 of 3

      7:23-cv-01427-TMC          Date Filed 11/02/23       Entry Number 73         Page 2 of 2




       Defendant/Crossclaim Defendant, Litchain Corp. (“Litchain”), has not appeared in this

case and is currently in default of all claims and crossclaims asserted against it. This stipulation of

dismissal does not operate to dismiss the claims and crossclaims asserted by Blockquarry and

Gaffney BPW against Litchain, which remain pending before this Court.


                                      Respectfully submitted,


 November 2, 2023                                FOX ROTHSCHILD LLP

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                                                 /s/ R. Taylor Speer
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                                                  2

                                                                                            EXHIBIT G
                                                                                             PAGE 196
